

Matter of Tatyana G. v Keith C. (2021 NY Slip Op 00013)





Matter of Tatyana G. v Keith C.


2021 NY Slip Op 00013


Decided on January 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2021

Before: Renwick, J.P., Gische, Kern, Oing, Mendez, JJ. 


Docket No. O-486/15 Appeal No. 12749 Case No. 2018-04593 

[*1]In the Matter of Tatyana G., Petitioner-Respondent,
vKeith C., Respondent-Appellant.


Geoffrey P. Berman, Larchmont, for appellant.
Larry S. Bachner, New York, for respondent.



Order, Family Court, New York County (Tandra L. Dawson, J.), entered on or about August 6, 2018, which, upon a fact-finding determination that respondent committed the family offenses of harassment in the second degree, assault in the third degree and criminal obstruction of breathing, granted a five-year order of protection in favor of petitioner, unanimously affirmed, without costs.
Contrary to respondent's argument, there is no basis for disturbing the court's determination crediting petitioner's version of events over his (see Matter of William M. v Elba Q., 121 AD3d 489 [1st Dept 2014]).
A fair preponderance of the evidence established that respondent committed the family offenses alleged. Petitioner demonstrated that on several occasions, respondent called her derogatory names, choked her, threw suitcases in her direction, and hit her. Because of his behavior and conduct, petitioner would run away from him and hide (see Penal Law §§ 10.00[9]; 120.00[1]). Petitioner testified that as a result of respondent's physical violence, she sustained bruises and would be in pain for several days. On one occasion, respondent punched her in the face and left her unconscious for several hours (see Matter of Martha B. v Julian P., 133 AD3d 418, 419 [1st Dept 2015]).
The issuance of an order of protection for five years is supported by the record (see Matter of Angela C. v Harris K., 102 AD3d 588, 590 [1st Dept 2013]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2021








